           Case 1:19-vv-00401-UNJ Document 15 Filed 10/11/19 Page 1 of 2




         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0401V
                                       Filed: July 24, 2019
                                         UNPUBLISHED


    KATY PARROTT,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                        Respondent.


Brian Robert Arnold, Brian R. Arnold & Associates, Richardson, TX, for petitioner.
Brittany Alexandra Anne Ditto, U.S. Department of Justice, Washington, DC, for
respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

      On March 15, 2019, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that the influenza (“flu”) vaccine that she received on
November 10, 2010, caused her to suffer from Guillian-Barré Syndrome (“GBS”).




1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-00401-UNJ Document 15 Filed 10/11/19 Page 2 of 2



Petition at ¶¶ IV, V.3 The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On July 24, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent states that “petitioner suffered the Table injury of GBS following
a flu vaccine within the Table time period . . . [and] has met the statutory requirements
for entitlement to compensation under the Act.” Id. at 4.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                         s/Nora Beth Dorsey
                                         Nora Beth Dorsey
                                         Chief Special Master




3
 The petition contains a typographical error as to the date of vaccination. Compare Petition ¶ IV with ¶ V.
The medical records confirm that petitioner received the vaccination on November 10, 2010. Ex. 3.
